         Case 1:19-cv-01796-PEC Document 3 Filed 11/22/19 Page 1 of 1




                           Case No.: 1:19−cv−01796−PEC



AMAZON WEB SERVICES, INC.

    v.                                     NOTICE OF ASSIGNMENT TO:
                                           Judge Patricia E. Campbell−Smith
UNITED STATES OF AMERICA

     Pursuant to Rule 40.1, of the Rules of the United States Court of Federal Claims,
this case has been assigned to the above Judge for the conduct of proceedings
pursuant to the rules of this court. Careful consideration and observance by counsel
of the rules of this court and the orders of the assigned judge will enable the judge
and the Clerk of Court to assist counsel in the expeditious disposition of the case
with minimum expense. Counsels attention is called to Appendix A of the rules of
this court which governs proceedings before trial, and has application in every case
unless an order is entered providing otherwise. For format and copy requirements,
see Rule 5.5. For service and filing requirements, see Rule 5. For electronic case
filing procedures, see Appendix E of the rules of this court.
    Counsels’ attention is also called to Appendix H of the rules of this court which
implements a variety of voluntary, non−binding alternative dispute resolution (ADR)
tools for use in appropriate cases. ADR techniques include but are not limited to
mediation, mini−trials, early neutral evaluation, and non−binding arbitration.
    The United States is requested to promptly file written notification of the name,
address and telephone number of assigned counsel in accordance with Rule
83.1(c)(3).
   Pursuant to Rule 5.5(g): “In all filings other than the complaint, the name of the
judge assigned to the case must be included directly below the docket number.”
